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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Norfolk Division

 WAYNE B. LYNCH, Administrator                       )
 of the Estate of DONOVAN W. LYNCH,                  )
 Deceased,                                           )
                                                     )      Case No. 2:21-cv-341
        Plaintiff,                                   )
                                                     )
 v.                                                  )
                                                     )
 SOLOMON D. SIMMONS, III, et al.,                    )
                                                     )
        Defendants.                                  )


                                                ORDER

        For good cause shown and in accordance with Local Rule 83.1, the Motion to Substitute

 Counsel for Plaintiff is GRANTED and former counsel for the Plaintiff, Justin Fairfax and Tom

 Martin, are substituted with Joseph V. Sherman, Esq., and Joseph V. Sherman, P.C., 324 West

 Freemason St., Norfolk, VA 23510 as counsel of record for Plaintiff’s duties and obligations.

                                                     It Is So Ordered,

                                                     ____________________________________

                                                     The Honorable Arenda Wright Allen
                                                     United States District Court Judge
